    Case 3:17-cv-00638-B Document 1 Filed 03/03/17                       Page 1 of 52 PageID 1



                                In the United States District Court
                                    Northern District of Texas
                                         Dallas Division

    Jill Wilson,

            Plaintiff,                                          Civil Action No. 3:17-cv-638
    v.

    Best Way Express, Inc. and
    Robert Lee Gray

            Defendants



              Defendants Best Way Express, Inc.’s and Robert Lee Gray’s
                                Notice of Removal

To the Honorable United States District Judge:

Comes Now, Best Way Express, Inc. and Robert Lee Gray, Defendants (hereinafter

“Defendants”), and file this, their Notice of Removal. In support thereof,

Defendants would respectfully show the Court as follows:

                                             Introduction


1.1        Plaintiff Jill Wilson (“Plaintiff”) filed her state court action against Best Way

Express, Inc. and Robert Lee Gray in Dallas County, Texas on January 20, 2017.1

The case was docketed as Cause No. DC-17-00812; Jill Wilson v. Best Way

Express, Inc. and Robert Lee Gray; in the 14th Judicial District Court of Dallas

County, Texas.




1   See Plaintiff’s Original Petition, attached hereto as Exhibit C-1.
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1.2         Plaintiff’s claims against Defendants sound in negligence and gross

negligence.2 These claims arise out of a motor vehicle accident on or about January

21, 2015. Plaintiff seeks monetary damages for past and future medical expenses;

past and future physical pain and suffering; past and future mental anguish; past

and future physical impairment; lost wages and past and future loss of earning

capacity; property damages, towing, rental, and storage fees; costs of court; and

pre- and post-judgment interest.3

1.3         On February 7, 2017, Robert Lee Gray was served with citation and

Plaintiff’s Original Petition by serving the Chairman of the Texas Transportation

Commission, certified mail return receipt requested.4

1.4         Defendants Best Way Express, Inc. and Robert Lee Gray each filed an

Original Answer and Request for Disclosure on February 17, 2017.5

1.5         Plaintiff made a jury demand in her Original Petition.6

1.6         Defendants’ Notice of Removal is timely as it was filed within thirty (30)

days of when Defendant Robert Lee Gray was served.7




2 See id.


3 See id.


4   See Return of Service, dated February 9, 2017, attached hereto as Ex. C-9.

5 See Ex. C-10 and   Ex. C-11.

6   See Ex. C-1.

7   See 28 U.S.C. 1446(b)(1).




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1.7        Defendants’ Notice of Removal is timely as it is filed within thirty (30) days

of when it was first ascertainable that this case could be removed based upon

diversity jurisdiction.8

1.8        The one-year deadline on removal under 28 U.S.C. 1446(c) has not elapsed.

                                          The Parties

2.1        Plaintiff Jill Wilson is an individual who resides in Dallas County, Texas.9

2.2        Defendant Robert Lee Gray resides at 190 Greenwood Dr., Apt. B, Cadiz,

Kentucky 42211.10 He is a citizen of the state of Kentucky.

2.3        Defendant Best Way Express, Inc. is foreign corporation incorporated

under the laws of the State of Indiana, with its principal place of business in

Vincennes, Indiana.11 It is a citizen of Indiana.

                                     Basis for Removal

A.         Removal Standard

3.1        Pursuant to 28 U.S.C § 1441(a), Defendant removes this action to the United

States District Court for the Northern District of Texas. In support of this Notice,

Defendants show that there is complete diversity of citizenship between the

Plaintiff and Defendants because the parties are citizens of different states and the

amount in controversy exceeds $75,000.00.12 Removal is appropriate because it


8 See 28 U.S.C. 1446(b)(3); see also Braud v. Transp. Serv. Co., 445 F.3d 801, 805 (5th Cir. 2006).


9    See Ex. C-1 ¶ 5.

10 See id. at   ¶ 6.

11   See id. at ¶ 7.

12 See 28 U.S.C. §      1332(a).




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has been sought within thirty (30) days of Defendants first ascertaining that this

suit was removable, and it has been less than one year since this action was

originally commenced.13

B.         Diversity of Citizenship


3.2        Diversity jurisdiction depends upon a showing of complete diversity, which

means that none of the plaintiffs may be a citizen of the same state as one of the

defendants.14 “A United States citizen who is domiciled in a state is a citizen of that

state.”15 A corporate entity is deemed to be a citizen of both the foreign state in

which it is incorporated as well as the location where it maintains its principal place

of business.16

3.3        As of the date of filing of this action, and at all times thereafter, up to and

including the present, Plaintiff Jill Wilson was a citizen of Texas.17 Defendant

Robert Lee Gray is a citizen of Kentucky.18 Defendant Best Way Express, Inc. is a

citizen of Indiana, because it is incorporated in Indiana and maintains its principal




13 See 28 U.S.C. § 1446(b); see also Monterey Mushrooms, Inc. v. Hall, 14. F. Supp.2d 988, 991
(S.D. Tex. 1999) (“When service is effected on a statutory agent, the removal period begins when
the defendant actually receives the process and not when the statutory agent receives process.”).

14   See Whalen v. Carter, 954 F.2d 1087, 1094 (5th Cir. 1992).

15 Coury    v. Prot, 85 F.3d 244, 249 (5th Cir. 1996) (citing Robertson v. Cease, 97 U.S. 646, 648-50
(1878)).

16   See 28 U.S.C. § 1332(c)(1); Mullins v. Test America, Inc., 564 F.3d 386, 397 n.6 (5th Cir. 2009).

17   See Ex. C-1 ¶ 5.

18   See id. at ¶ 5 .




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place of business in Vincennes, Indiana.19 Accordingly, complete diversity of

citizenship exists between Plaintiff and Defendants and removal is therefore

appropriate.

C.         Amount in Controversy


3.4        Removal is additionally appropriate under diversity jurisdiction as the

amount in controversy, exclusive of interest and costs, exceeds $75,000. When a

plaintiff’s monetary demand is stated in the complaint, a defendant can rely on

that allegation to meet the federal court’s jurisdictional requirement.20

3.5        Plaintiff’s Original Petition specifically alleges that she “seeks monetary

relief of over $200,000.00 but not more than $1,000,000.00.”21

D.         Removal is Timely and Proper


3.6        In general, if a suit is removable when it is filed, the defendant must file the

notice of removal within 30 days after receiving both the summons and a copy of

the complaint.22 For suits involving multiple defendants, “all defendants who have

been properly joined and served must join in or consent to the removal of the

action.”23 Furthermore, the 30-day timeline to file the notice of removal applies



19   See Ex. C-1.

20 See 28 U.S.C. §    1446(c)(2).

21   See Ex. C-1 at ¶ 2.

22 See 28 U.S.C. §    1446(b)(1).

23   Id. at § 1446(b)(2).




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for each defendant,24 but with the caveat that if the defendants are served at

different times, the earlier-served defendant may consent to the later-served

defendant’s removal even if it did not previously “initiate or consent to removal.”25

However, both defendants in this action consent to removal.

3.7       This provision of 28 U.S.C. § 1446(b) is called the “last-served defendant

rule.” The Fifth Circuit has held that, under the last-served defendant rule, even in

situations where the deadline to notice removal has passed for the earlier-served

defendant, if the last-served defendant still is within the 30-day period to file notice

of removal, the earlier-served defendant may still properly join or consent to that

removal.26 In other words, the deadline for filing notice of removal is 30 days after

the last defendant was served.

3.8       Defendant Robert Lee Gray was served in the state court action on February

7, 2017, and now files this Notice of Removal within 30 days of service. Defendant

Best Way Express, Inc. files this Notice of Removal within 30 days of filing its

answer in state court.

3.9       Since the deadline for filing a notice of removal is 30 days after the last

defendant was served, Defendants’ Notice of Removal is timely and properly filed.




24   See 28 U.S.C. § 1446(b)(2)(B).

25 See id. at   § 1446(b)(2)(C).

26See Banik v. Tamez, 2016 U.S. Dist. LEXIS 145710, at *11-13 (S.D. Tex. Oct. 20, 2016) (citing
Eclipse Aesthetics LLC v. Regenlab USA, LLC, 2016 U.S. Dist. LEXIS 123581, at *8 (N.D. Tex.
Sept. 12, 2016)).




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                                Required Documents

4.1    Pursuant to 28 U.S.C § 1446(a) and Rule 81 of the Local Rules of the United

States District Court for the Northern District of Texas, Defendant attaches hereto

copies of all pleadings, process, orders, and other filings in the state court action

as well as the state court action’s docket sheet. The pleadings, process, orders,

other filings, and docket sheet from the state court action are identified in the

Index of Matters Being Filed with Removal which appears as Exhibit A.

                                  Required Notice

5.1    Pursuant to 28 U.S.C. § 1446(d), Defendants will promptly provide notice

to all adverse parties and will file a copy of the Notice of Removal with the Dallas

County District Clerk’s Office.

                                    Conclusion

Wherefore, Premises Considered, Defendants Best Way Express, Inc. and Robert

Lee Gray respectfully request that the Honorable Court remove this action to the

United States District Court for the Northern District of Texas. Defendant

additionally prays for such further relief, at either law or equity, to which it may

prove itself justly entitled.




                        [Signature Block on Following Page]




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                                           Respectfully submitted,

                                           BROWN SIMS



                                            /s/ Michael D. Williams________
                                           Michael D. Williams
                                           Attorney-in-Charge
                                           Texas Bar No. 21564330
                                           Federal I.D. No: 6982
                                           1177 West Loop South, Tenth Floor
                                           Houston, Texas 77027-9007
                                           (713) 629-1580
                                           (713) 629-5027 (facsimile)

                                           Attorney for Defendants
                                           Best Way Express, Inc. and
                                           Robert Lee Gray


                                Certificate of Service


This is to certify that a true and correct copy of the foregoing instrument has been
forwarded to all attorneys of record in accordance with the Federal Rules of Civil
Procedure as well as the Northern District of Texas’ Local Rules via electronic filing
as well as facsimile and certified mail, return receipt requested on this the 3rd day
of March, 2017.

       Cassandra M. Gandara
       GANDARA & GONZALEZ, PLLC
       400 S. Zang Blvd., Suite 816
       Dallas, Texas 75208
       (972) 755-9897
       (972) 619-8813 – facsimile
       jessica@oakclifflawyers.com

       Attorney for Plaintiff


                                                    /s/ Michael D. Williams______
                                                    Michael D. Williams




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                        In the United States District Court
                            Northern District of Texas
                                 Dallas Division

Jill Wilson,

       Plaintiff,                                     Civil Action No. 3:17-cv-638
v.

Best Way Express, Inc. and
Robert Lee Gray

       Defendants
                Index of Matters Being Filed with Removal

EXHIBIT A:          Index of Matters Being Filed With Removal.

EXHIBIT B:          State Court Docket Sheet.

EXHIBIT C:          Copies of all Process, Pleadings, Orders, and Other Filings in
                    the State Court Action:

                    C-1:    Plaintiff’s Original Petition, filed in the 14th Judicial
                            District of Dallas County, on January 20, 2017.

                    C-2:    Civil Case Information Sheet, filed with the Court
                            January 20, 2017.

                    C-3:    Transmittal Letter, filed January 20, 2017.

                    C-4:    Request to Issue Citations, filed January 23, 2017.

                    C-5:    Citation issued on January 30, 2017.

                    C-6:    Citation issued on January 26, 2017.

                    C-7:    Citation issued on January 26, 2017.

                    C-8:    Request for Service, filed January 30, 2017.

                    C-9:    Return of Service, filed February 9, 2017




                    Ex. A - Index of Matters Being Filed With Removal
                                          Page 1

                                                                                Exhibit A
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                 C-10: Defendant Robert Lee Gray’s Original Answer, filed
                       with the 14th Judicial District of Dallas County on
                       February 17, 2017.

                 C-11: Defendant Best Way Express, Inc.’s Original Answer,
                       filed with the 14th Judicial District of Dallas County on
                       February 17, 2017.

                 C-12: Notice of Trial, set for January 16, 2018.

EXHIBIT D:       List of All Counsel of Record.

EXHIBIT E:       Name and Address of State Court.

EXHIBIT F:       Certificate of Interested Persons.




                 Ex. A - Index of Matters Being Filed With Removal
                                       Page 2

                                                                           Exhibit A
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               Case Information

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               DC-17-00812                                   14th District Court           01/20/2017
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               Party

               ~'L~I1~71FF               Active f-~t#ctreys~
               WILSON, JILL              Lead Attorney
          ~                              GANDARA, CASSANDRA M.
               Address
               400 S. ZANG BLVD          Retained
               SUITE 816                 ~d~j~;~   ~~~~7t,
               DALLAS TX 75208           972.755-9897
                                                                                                                          1
                                         Fax F~I~cr~
                                         972-619-8813



                                         Attorney
                                         GONZALEZ, JESSICA
                                         ARACELI
                                         Retained

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                                         972-755-9897


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                                                                                                          Exhibit B
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             C?EF~~lGA~J"(                                                 r;ctive !~ftorney~
             BEST WAY EXPRESS, INC.                                        Lead Attorney
             Address                                                       WILLIAMS, MICHAEL D
             2242 S OLD DECKER ROAD                                        Retained
             VINCENNES IN 47591-6117                                       i•F~fork ~'hc~ne                                               '
                                                                           713-629-1580

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             C~F.FF.NI:)Ai~l                                                           active Attor~~~y~~
             GRAY, ROBERT LEE                                                          Lead Attorney                                       i~
                                                                                       WILLIAMS, MICHAEL D
             Address
                                                                                       Retained
             190 GREENWOOD DRIVE APT #B
             CADIZ KY 42211-9301                                                       ~,~af.~ ~~~~~
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             Financial

             LrJI(..~C~d, Jlt..l..
                      Total Financial Assessment                                                                     $387.00
                      Total Payments and Credits                                                                     $387.00


              1/23/2017              Transaction                                                                     $287.00
                                     Assessment

              1/23/2017              CREDIT CARD -                              Receipt # 4142-   WILSON, JILL     ($287.00)
                                     TEXFILE (DC)                              2017-DCLK

              1/24/2017              Transaction                                                                      $24.00
                                     Assessment

              1/24/2017              CREDIT CARD -                             Receipt # 4402-    WILSON, )ILL      ($24.00)
                                     TEXFILE (DC)                              2017-DCLK

              1/30/2017              Transaction                                                                      $76.00
                                     Assessment

              1/30/2017              PAYMENT (CASE                             Receipt # 5952-    GANDARA &         ($76.00)
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             Documents


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                                          DC-17-00812
                                  CAUSE NO.

JILL WILSON,                                             IN THE DISTRICT COURT
      Plaintiff,
v.
                                                                JUDICIAL DISTRICT
BEST WAY EXPRESS,INC. and ROBERT
LEE GRAY,
     Defendants.                                         DALLAS COUNTY,TEXAS


                           PLAINTIFF'S ORIGINAL PETITION
                            AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW,JILL WILSON, Plaintiff, complaining of and against Defendants BEST

WAY EXPRESS, INC. and ROBERT LEE GRAY (hereinafter collectively referred to as

"Defendants") and would respectfully show unto the Court as follows:

                                         I.
                              DISCOVERY CONTROL PLAN

1.     Plaintiff submits this action under Discovery Control Plan Level II, per Rule 190.3 of the

Texas Rules of Civil Procedure.

                                              II.
                                            RELIEF


2.     Plaintiff seeks monetary relief of over $200,000.00 but not more than $1,000,000.00.

                                            III.
                                       JURISDICTION

3.     This Colu-t has jurisdiction as Plaintiff's damages exceed the minimum jurisdictional

limits of this Court.




                                                                                       Exhibit C-1
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                                                 IV.
                                              VFNTTF



4.      All or a silbstantial part of the events or omissions that dive rise to the ui7derlying claim

accrued in Dallas Colmty, therefore venue is proper in Dallas County pursilant to C.P.R.C. §

15.002(a)(1).

                                                V.
                                             PARTIES

5.      Plaintiff is an individual domiciled in Dallas County, Texas with the last three numbers

of her driver's license being 123 and the last three numbers of her social security number being

►.LyI

6.      Defendant ROBERT LEE GRAY, an individual who is a nonresident of Texas, whose

usual place of abode is located at 190 Greenwood Dr., Apt. B, Cadiz, Kentucky, 42211, may be

served with process by serving the Chairman of the Texas Transportation Commission at 125 E.

llt~' Street, Austin, Texas 78701, as Defendant's agent for service because Defendant was a party

to a collision while operating a motor vehicle in Texas.

7.      Defendant BEST WAY EXPRESS, INC, a foreign corporation organized and existing

under the laws of the State of Indiana, whose home office is located at 2242 S. Old Decker Road,

Vincennes, Indiana 47591, may be served with process by serving the Secretary of State of

Texas at P.O. Box 1.2079, Austin, Texas 78701, as its agent for service because Defendant

engages in business in Texas but does not maintain a regular place of business in Texas or a

designated agent for service of process, and this suit arose from Defendant's bl~siness in Texas.

                                              VI.
                                         JURY DEMAND

8.      Plaintiff hereby respectfiilly requests that a jtuy be convened to try the factual issues of

PLAiNT1P~'S ORIGINAL PI:TI7'ION AND REQUEST POR DISCLOSURE
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this case.

                                                 VII.
                                                FACTS

9.        Plaintiff would respectfully show the Court that on or about January 21, 2015, she was

traveling westbound on IH-30 in Dallas Colmty, Texas when her vehicle was violently struck on

its driver's side by an 18-wheeler being driven by Defendant ROBERT LEE GRAY (hereinafter

referred to as "Defendant Gray." Defendant ROBERT LEE GRAY failed to drive in a single

lane and further failed to control his speed, proximately causing the collision and resulting

injilries and damages. At all relevant tinges hereto, the 18-wheeler being driven by Defendant

Gray was owned and/or controlled by Defendant BEST WAY EXPRESS,INC. Furthermore, it

is Plaintiff's information and belief that Defendant GRAY was acting within the course and

scope of his employment with Defendant BEST WAY EXPRESS, INC. at all material times

hereto. Defendants' negligence proximately caused Plaintiff's injtu-ies and damages described

herein.

                                             VIII.
                                       CAUSES OF ACTION

10.       Defendant ROBERT LEE GRf1Y's actions and/or omissions proximately caused

Plaintiff's personal injuries and damages.        Defendant ROBERT LEE GRAY's acts and/or

omissions constituted negligence and/or negligence per se in the following acts, to wit:

          a.    In failing to keep such a look out as a person of ordinary prudence would have
                kept under the same or similar circumstances;

          b.    In failing to drive in a single lane;

          c.    In failing to turn t1~e direction of the 18-wheeler' away fi-oi7~ the Plaintiff's vehicle
                in order to avoid the collision;



PLAIiV7'iTF'S ORIGINAL PETITION AND I2EQUGST POR DISCLOSURE                                            3
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        d.     In failing to control the speed o,f the 18-wheeler;

        e.     In failing to be attentive;

        £      In failing to use due care to avoid the collision;

        g.     In failing to sound horn or warn Plail~tiff prior to the accident;

        h.     In failing to identify, predict, decide and execute evasive maneuvers appropriately
               in order to avoid collision;

        i.     In failing to apply the brakes to the 18-wheeler in order to avoid the collision,
               and;
       j.      In failing to act as a reasonable person would have under the same or similar
               circumstances.


1 1.    Each of the above acts and omissions, singularly or in combination with each other, was a

proximate cause of the Plaintiff sustaining injuries and damages that ai•e described below.

                                          IX.
                                N_EGLIGENT_ENTRUSTMENT

12.     The conduct of Defendant BEST WAY EXPRESS, INC., by negligently entrusting its

vehicle to Defendant ROBERT LEE GRAY at the time of this underlying collision, proximately

caused Plaintiff's damages in the following acts of negligence, to wit:

       a.      Defendant BEST WAY EXPRESS, INC., knew oi- should have known that
               Defendant ROBERT LEE GRAY, by a preponderance of the evidence, was an
               unlicensed, reckless and/or incompetent driver;

       h.      Defendant BEST WAY EXPRESS, INC., should have used ordinary care
               knowing that Defendant ROBERT LEE GRAY, was an unlicensed, reckless
               and/or incompetent driver, and should have denied the use of its 18-wheeler to
               said driver who subsequently caused the accident which was the proximate cause
               of the iisjury and damages sustained by the Plaintiff.

       c.      Defendant BEST WAY EXPRESS, INC., through acts of negligence, placed the
               Plaintiff and general public's safety at jeopardy and is liable foi- the harnl sLiffered
               by the Plaintiff. Defendants are liable, joint end severally, for all of Plaintiff
               injuries and damages.

PLAIN"I7~P"S ORIGINAL PETITION AND RL'QULST FOR DISCLOSURE                                           4
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17                    Page 21 of 52 PageID 21




                                              X.
                                      RESPONDEAT SUPERIOR

13.     At the time of the incident described above, Defendant ROBERT LEE GRAY was acting

within the course and scope of employment with Defendants BEST WAY EXPRESS,INC. As a

result, Defendant BEST WAY EXPRESS, INC. is vicariously liable for Defendant ROBERT

LEE GRAY's general and per se negligence under the doctrine of respondeat superior.

14.     In the alternative and without waiving the foregoing causes of action, at the time of the

underlying incident, Defendant ROBERT LEE GRAY was acting as an agent of Defendant

BEST WAY EXPRESS,INC. As a result, Defendant BEST WAY EXPRESS,INC. is liable for

Defendant ROBERT LEE GRAY's general and per se negligence.

                                  XI.
         NEGLIGENT HIRING,SUPERVISION,TRAINING,AND RETENTION

15.    Defendant BEST WAY EXPRESS, INC. had a legal duty to hire, supervise, train, and

retain competent employees. Defendant BEST WAY EXPRESS, INC. breached the duty when

defendant negligently hired, supervised, trained, and retained Defendant GRAY. Defendant's

breach of said duty proximately caused Plaii7tiff's damages and injm-ies.

                                           XII.
                                    GROSS NEGLIGENCE

16.    Plaintiff's injuries resulted from Defendants' gross negligence, which entitles Plaintiff to

exemplary damages under C.P.R.C. § 41.003 (a).

                                               XIII.
                                           1lAMA(_Ffi



17.    As a direct and proximate result of Defendants' negligence, Plaintiff suffered severe

injuries to various parts of her- body, incltiiding but not limited to, leer head, back, neck, right

PLAINTIFF'S ORIGINAL PETITION AND RCQUEST P'OR DISCLOSURE
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17                    Page 22 of 52 PageID 22




shoulder and right knee. As a result of said bodily injuries, Plaintiff required medical treatment

and thus incurred reasonable and necessary medical expenses. Plaintiff has suffered and

continues to suffer from anxiety and post tz•atmlatic stress disorder as a proximate cause of

Defendants' negligence. There is more than a reasonable medical probability that Plaintiff will

incur additional reasonable expenses for necessary medical care and attention in the firture.

Plaintiff also suffered physical impairment, lost wages, loss of earning capacity, physical pain

and mental anguish as a result of the collision. In all likelihood, Plaintiff will contimie to suffer

in this manner for- the remainder of her life.

18.     By reason of the foregoing injuries and damages, the Plaintiff sustained damages far in

excess of the minimum jtu-isdictional limits of the Court.

                                     XIV.
             PLAINTIFF'S REQUEST FOR DISCLOSURES TO DEFENDANTS

19.     Plaintiff hereby requests that Defendants disclose the information and material described

in TEX. R. CIV. P. 194.2 (a) - (1). Defendants' responses shall be delivered to Plaintiff's

attorney of record at 400 S. Zang Boulevard, Suite 816, Dallas, Texas 75208 within fifty (50)

days from the date of service hereof Plaintiff also requests that the Defendants supplement

responses to this Request for Disclosure, as provided by TEX. R CIV. P. 192, 193, and 194.

                                                   XV.
                                                 PRAYER

20.     WHEREFORE, Plaintiff respectfully requests that the Defendants be cited to appear and

answer, and that on final trial, Plaintiff be awarded judgment against the Defendants,jointly and

severally, for the following:

        a.       Past and future medical expenses in an amount to be deter111ined by the trier of
                 fact;

PLAINTITT'S ORIGINAL PL"I'1'I'ION AND RI,QUtiS"I' FOR DISCLOSURE
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17                   Page 23 of 52 PageID 23




        b.     Monetary damages for Plaintiff for past and fiiture physical pain and suffering and
               mental anguish in amount to be determined by the trier of fact;

        c.     Monetary damages for Plaintiff for past and future physical impairment in an
               amount to be determined by the trier offact;

        d.     Lost wages and past and future loss of earning capacity;

        e.     Property damage, towing, rental, and storage fees;

        e.     Pre and postjudgment intErest at the maximum legal rate;

       £       Costs of Court;

        g.     Such other and further relief, at law or in equity, to which Plaintiff may be justly
               entitled.

                                               Respectfully Submitted,

                                               GANDARA & GONZALEZ,PLLC


                                              By:       /s/ Cassandra M. Gandara
                                                      Cassandra M. Gandara
                                                      State Bar No. 24059800
                                                      Cassandra@oakclifflawyers.com
                                                      Jessica A. Gonzalez
                                                      State Bar No. 24076176
                                                      Jessica@oakclifflawyers.com

                                              400 S. Zang Blvd., Suite 816
                                              Dallas, Texas 75208
                                              Telephone: (972) 755-9897
                                              facsimile:    (972)619-8813
                                              Email: service@oakclifflawyers.com

                                               ATTORNEYS I'OR PLAINTIFF




PLAINTIPP'S ORIGINAL PETITION AND RIsQUGST I'OR DISCLOSURT                                       7
                  Case 3:17-cv-00638-B Document 1 Filed 03/03/17                                                                   Page 24 of 52 PageID 24                                          FILED
                                                                                                                                                                                        DALLAS COUNTY
                                                                      CIVIL CAST,INFORMATION SHEET                                                                                   1/20/2017 5:54:18 PM
                                                                                                                                                                                           FELICIA PITRE
               CAUSE NUMBER ~F'OR C/ERK GSGONL3~:                 ~~-~ ~-~~$ ~ ~                                      COURT FOR C/.ERK U.SEONLI~:                                       DISTRICT CLERK


                  sT,~~~„ JILL WILSON V. BEST WAY EXPRESSWAY INC., AND ROBERT LEE GRAY
                                      (e.g., John Smith v. All FAmerican Insurance Co; In re Mary Ann Jones; In tl~e Matter of die Estate ofGeorge Jackson)

    A civil case ii~fonnation sheet must be completed and submitted when an original petition or application is riled to initiate a new civil; family la~~v, probate, or mental
    health case or when apost-judgment motion for modification or enforcement is 1~iled in a family law case. The information should be the Vest available at the time of
    filing. This sheet, approved by the Texas Judicial Council, is intended to collect infonnatiou that will be used for statistical purposes only. It neither replaces nor
    supplements the filings or service of pleading or other documents as required by law or rule. The sheet does ~~ot constitute a discovery request, response, or
    suppiemencanon. ana is is noc aomissiuie at mai.
    L Conl~cl uifoi~m.~timi for perv~>>i coinpletiu;; r>isc information shccL•              Fames of >arfics in case:                                    Person ui cnlih° compfeti~ig nhecf is:
                                                                                                                                                          ~1tron~eyforPlaintift/Petitioner
    Name:                                       F,mail:                                     Plaintiffs)/Petitioner(s):                                 ❑Pro Se Plaintiff/Petitioner
                                                                                                                                                       ~' ide IV-D Agency
     Jessica Gonzalez                           Jessica@DallasAbogadas.com                  JILL WILSON
                                                                                                                                                       ~ ' )lher:

    Address:                                    Telephone:

    400 S Zang Blvd., Ste 816                   972-755-9897                                                                                           Additional. Parties in Child Support Case:

                                                                                            Defendants)/Respondent(s):                                 Custodial Parent:
    City/State/Zip:                             l=ax:
                                                                                            BEST WAY EXPRESSWAY. INC
     Dallas, TX 75208                           972-6198813
                                                                                            AND ROBERT LEE GRAY                                        Non-Custodial Parent:
    Signature:                                  State Bar No:
                                                                                                                                                       Presumed Father:
                   ~R_~                         24076176
                                                                                           (Attach additional page as necessary ro list all parties]

    2. lnduate cafe hpe, of idcntik~v the mostimportant issue in the case
               ___                ._        ___
C        _                                       Ciril                                                                                                     /'.      l_cnn
                                                                                                                                                                      Post-jud;,~mcnt Actions
               Con[r.u[                           Inju~~ or Dumo-lr                        Rc:~l
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    1 rhr'C'aNract                       [~ \,~:~ i ilUBattery                    ~I niinentDomain/                          ~~nnuhnent                             ❑ I.nl~~rccment
          Consumer/DTPA                  [~;~~onstruction                             Condemnation                           ~'~eclare Marriage Void                ❑ ~\-lodification—Custody
          Debt/Contract                   ~ '+~efamalion                           ;Partition                                ~rnorce                                ❑1\-1 nd ification—Other
          =rand/Misrepresentation        ivtulnractrce                              I ~ quiet Title                                  Vith Children                             I~itic 1~~-D
       =ether Debt/Contract                  ~ ]~lccoui~tin2                      ~j i respass to Try Title                      ' ~ 10 Children                  ~la~foreement/Modification
                                                 Legal                            0Othcr Property:                                                                 I Paternity
!~ F'oredosu~~e                                ]fvledical                                                                                                          ❑ Reciprocals(UIFSA)
'~        _ j Home Equity—Expedited         „]Other Professional                                                                                                  f~Support Order
        ~ ether Foreclosure                      Liabilit}~:
   ~fhranchise                                                                         Kclxtcd to(a-iminal
                                                                                             19altcrs                            Otlicr P~mih  L~~~                1'~rcnt-Child Rclationtiir
         I nsurance                      ~✓ vlotor Vehicle Accident                                                                        --,
      ~ ', .andlord/Tenant                  Premises                                 1 ~apun cti o~~                             Enforce foreign                   ~Adc~~~tinn Aduptu~n ~cilh
   I~ ,Von-Competition                   ~ odac~ Z.iabilit~,
                                           ❑ nsbestos/Silica
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                                                                                   ❑Non-Disclosure
                                                                                                                                .lodgment
                                                                                                                               ❑Habeas Corpus
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                                                                                                                                                                   ❑C~hiltl Prutcctit,n
       I .'artnership
                                          [~Uther Product Liability                ❑Seizure/Forte itore                        ❑Vame Change                        ❑Chill Stippon
   _]ether Contract:
                                              List Product                         ❑ Writ of Habeas Corpus—                    ❑Protective Order                   ❑C~~S[~~~}~ or V isi(Fition
                                                                                     Yre-indictment                            ❑ Removal of'Disabilities           ❑Gcst~tional Parcntins
                                         QOther ]njwy or Damage:                   ❑Other.                                       of Minority                       ❑<~run~ip,~rcnt tAacss
                                                                                                                               ] Other:                               P,ntnluec/P3lcrni ~y
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               ?mplot'm~~nt                                                h ~ r Cis ii                                                                              [~iehts
    ❑Discrimination                        ❑ Administrative Appeal                 ❑ Lawyer Discipline                                                             ❑(>Iher Pureiit-C:hild'.
    ❑hetaliation                           ❑ nntitrustNnfair                       ❑ Perpetuate Testimony
    ❑Termination                             Competition                           ❑Securities/Stock
    ❑Workers' Compensation                 ❑Code Violations                        ❑ I~ortious Interference
    ❑Other Employment:                     ❑ Foreign Judgment                      ❑Other:
                                           ❑ huellectiial Property

                ~ T~a.c                                                                             Probnte & Menta!/lealdr
     ❑Tax Appraisal                        Proha~e~IPills-"h~~estate Adnair~isn~ntion                         ❑Guardianship--Adult
     ❑Tax llelinquenc}~                       ~1~ependent Administration                                      ❑~ivardianship—Minor
     ❑Other Tax                               ❑Independent Adm inisiration                                    ❑ \Ylental Health
                                              pC)ther [state Proceedines                                      ❑Other.

    3. 1 n di~,tte procedure ui remc~~-, ~f applic»ble (i~orry select nrnr c dour Ij:
     ❑ A~~~~eal tiom Munici~~al or.Iusuce Colin                    ❑ Uc~laiatoiv.lud~ment                                                ~I i c~uclement IZem~Jy
     ❑ Arbitration-related                                         ❑Garnishment                                                             Protective Order
     ❑ Attaclunent                                                 ❑ Interpleader                                                        ❑ I:eceivcr
     ❑ gill ofRevie~~-                                            [License                                                               ❑Sequc,tration
     ❑Certiorari                                                  ❑Mandamus                                                              ❑Tem~~oraiY Rcstrainine Ordcdliijunction
     ❑ Class Action                                               [Post-judgment                                                         (~ l~urno~~er



                                                                                                                                                                       Exhibit C-2
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17                     Page 25 of 52 PageID 25                            FILED
                                                                                                           DALLAS COUNTY
                                                                                                        1/20/2017 5:54:18 PM
                                                                                                              FELICIA PITRE
                                                                                                           DISTRICT CLERK


                                              TfORNEYS   BOGADAS

                                 GANDARA & GONZALEZ,PLLC
400 S. Zang Sivd., Suite 8]6                                                      Telephone (972) 755-9897
Dallas, Texas 75208                                                                Facsimile (972)619-8813

                                             January 20, 2016

Attn: Civil Department
Dallas District Clerk's Office
                                         DC-17-00812
600 Commerce St.
Dallas, Texas 75202


                   Re:         JILL WILSON v. BEST WAY EXPRESS,INC., AND ROBERT LEE GRAY


Dear Sir/Madam:


         Enclosed for filing in connection with the above-referenced matter is Plaintiffls Original

Petition and Request for Disclosure. Thank you for your assistance in this matter. If you

should have any questions, please do not hesitate to call our office.




                                                  Sincerely,

                                                   ~~~~
                                                  Jessica A. Gonzalez
                                                  Attorney at Law
                                                  Jessica a~0akCliffLawyers.com




:jag
Enclosures




                                                                                             Exhibit C-3
     Case 3:17-cv-00638-B Document 1 Filed 03/03/17                          Page 26 of 52 PageID 26                          FILED
                                                                                                                  DALLAS COUNTY
1-CIT COH ES                                                                                                  1/23/2017 12:55:13 PM
                                                                                                                     FELICIA PITRE
1-CIT SOS ES                                                                                                      DISTRICT CLERK
                                                     lTORNEYS   BOGADAS

                                     GANDARA & GONZALEZ,PLLC                                                  Tonya Pointer
    400 S. Zang Blvd., Suite 8]6                                                         Telephone (972)755-9897
    Dallas, Texas 75208                                                                   Facsimile (972)619-8813

                                                    January 23, 2017
    Attn: Civil Depa►•tment
    Dallas District Clerk's Office
    600 Commerce St.
    Dallas, Texas 75202

                       Re:         Cause No. DC-17-00812; Jill Wilson vs. Best Way Express Inc &Robert
                                   Lee Gray, currently pending in the 14`x' Judicial District Com-t, Dallas
                                   County, Texas.


    Dear Clerk:
             Enclosed for filii7g please find Plaintiff's payment and request to issue citations for both
    ~?efenda:~ts in this natter.
             Please issue the following citations:
                  •    ROBERT LEE GRAY, By Serving Tyron D. Lewis, Chairman of Texas
                       Transportation Commission, 125 E. 11`x' Street, Austin, TX 78701. Mr. Lee's                  COH
                       address for service via the Chairman is 190 Greenwood Dr., Apt. B, Cadiz,
                      Kentucky, 42211.
                  •    BEST WAY EXPRESS INC., Service of Process, Secretary of State, P.O. Box
                       12079, Austin, Texas 78711-2079. BEST WAY EXPRESS INC's home                                   SOS
                       office/address for service is 2242 S. Old Decker Road, Vincennes, Indiana 47591.


             Thank you for your assistance in this matter. If you have any gLiestions please do not
    hesitate to contact me directly at 972-755-9897 or at Jessica@OakCliffLawyers.com.


                                                          Sincerely,


                                                      ~~!      ~ ~C./
                                                        Jessica A. Gonzalez
                                                        Attorney at Law




    :jag
    Enclosures




                                                                                                    Exhibit C-4
         FORM NO. 353-4--CITATION                                                                                                          ATTY(COH)
        ~
        TTTT CST A TT      nr, m~v~



              To:     ROBERT LEE GRAY                                                                                                               CITATION
                      BY SERVING THE CHAIRMAN OF THE TEXAS TRA.NSPORTATiQN COMMISSION
                      125E 11TH STREET
                      AUSTIN TX 78701-2483                                                                                                       No.: DG17-00812

                                                                                                                                             JILL WILSON
          GREETINGS:                                                                                                                              VS.
          You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the               BEST WAY EXPRESS,INC.,ET AL
          clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration oftwenty days after you
          were served this citation and petition, a default judgment maybe taken against you.
           Your answer should be addressed to the clerk ofthe 14th District Court                                                               ISSUED
          at 600 Commerce Street, Dallas, Texas 75202.                                                                             ON THIS THE 30TH DAY OF JANUARY,
                                                                                                                                                  2017
               Said PLAINTIFF being 3II.L WILSON

          Filed in said Court 20th day of January, 2017 against                                                                   FELICIA PITRE
           BEST WAY EXPRESS,ING AND ROBERT LEE GRAY                                                                               Clerk District Courts,
                                                                                                                                  Dallas County, Texas
           For suit, said suit being numbered DC-17-00812 the nature of which demand is as follows:
           Suit On MOTOR VEHICLE ACCIDENT etc.                                                                                     By CARMEN MOORER,Deputy
          as shown on said petition REQUEST FOR DICLSOURE , a copy of which accompanies this citatiok~. If this citation
          is not served, it shall be returned unexecuted.
                                                                                                                                                                                  Case 3:17-cv-00638-B Document 1 Filed 03/03/17




                                                                                                                                  Attorney for :Plaintiff
              WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                        CASSANDRA M.GANDARA
               Given under my hand and the Seal of said Court at office on this the 34th day of January, 2017                      GANDARA & GONZA.LEZ PLLC
              ATTEST: FELICIA PITRE                                                                                                400 S 71ANG BLVD
              Clerk ofthe District Courts of Dalla   u tq T x                                                                      SUITE 816
                                                         'r                                                                        DALLAS TX 75208
                                      By                                            Deputy                Gou N ~'y                972-755-9897
                                                                                                           ~• ~~~.
                                                     CARMEN OORER                                       .`'       ~>`
                                                                                                                                                    ~rrst    ?~~ 7!"~"~'~   T~7
                                                                                                    Q@~;` `~- -`~`
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                                                                                                         `O~                          P,~ID                  PAID
                                                                                                                                                                                  Page 27 of 52 PageID 27




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Exhibit C-5
                                                                                     OFFICER'S RETURN
                                                                                      FOR INDIVIDUALS
Cause No. DC-17-00812

Court No: 14th District Court

Style: JILL WILSON
 vs.
BEST WAY EXPRESS,INC., et al

         Received this Citation the              day of                   ,20       at            o'clock. Executed at                      ,within the County of
                                                   State of                , on the             day of                    ,20       , at        o'clock, by
delivering to the within named                                                        each in person, a copy of this Citation together with the accompanying copy ofPlaintiffs original
petition, having first indorsed on same the date of delivery.
                                                                                     ----------OOOOOQ----------

                                                                                      OFFICER'S RETURN
                                                                                     FOR CORPORATIONS
 Received this Citation the             day of                     20       at              o'clock _.M. Executed at                        within the County of
                                                   State of                         ., on the          day of                      20       , at            o'clock   .M. by summoning
 the within named Corporation,                            by delivering to
                           President -Vice President -Registered Agent - in person, of the said

          a true copy of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                    ----------000000----------
                                                                                                                                                                                          Case 3:17-cv-00638-B Document 1 Filed 03/03/17




The distance actually traveled by me in serving such process was                 miles and my fees are as follows:     To certify which witness by my hand.
For Serving Citation       $                                  Sheriff
For Mileage                $                                  County
For Notary                 $                                  State of
        Total Fees         $                                  By

(Must be verified if served outside the State of Texas)
 State of
 County of
          Signed and swam to me by the said                                     before me this
 day of                                     , 20       , to certify which witness my hand and seal of office.


                                                       Seal                                                                              State & County of
                                                                                                                                                                                          Page 28 of 52 PageID 28
     FORM NO. 353-4—CITATION                                                                                                           ESERVE COH
     T~1~ ~T~T~~~T~~~~

       To:      ROBERT LEE GRAY                                                                                                                    CITATION
                BY SERVING THE CHAIRMAN OF THE STATE HIGHWAY
                 A ND PUBLIC TRANSPORTATION COMMISSION
                125E 11T"STREET                                                                                                              No.: DG17-00812
                A USTIN TX 78701-2483
                                                                                                                                         JILL WILSON
                                                                                                                                              VS.
     GREETINGS:                                                                                                                   BEST WAY EXPRESS,INC., ET AL
     You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
     clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you
     were served this citation and petition, a default judgment may be taken against you.                                                   ISSUED
      Yo~u~ answer should be addressed to the clerk of the 14th District Court                                                 ON THIS THE 26TH DAY OF JANUARY,
     at 600 Commerce Street, Dallas, Texas 75202.                                                                                             2017

         Said PLAINTIFF being JILL WILSON
                                                                                                                              FELICIA PITRE
     Filed in said Court 20th day of January, 2017 against                                                                    Clerk District Courts,
                                                                                                                              Dallas County, Texas
         BEST WAY EXPRESS,INC. AND ROBERT LEE GRAY
                                                                                                                               By KERRY KALLIE, Deputy
         For suit, said suit being numbered DC-17-00812 the nature of which demand is as follows:
                                                                                                                                                                      Case 3:17-cv-00638-B Document 1 Filed 03/03/17




       Suit On MOTOR VEHICLE ACCIDENT etc.
     as shown nn said petition REQUEST FOR DISCLOSURE,a copy of which accompanies this citation. If this citation                    Attorney for :Plaintiff
     is not served, it shall be returned unexec~lted.                                                                                 CASSANDRA M. GANDARA
                                                                                                                                      CASSANDRA@OAKCLIFFLAWYERS.COM
                                                                                                                     ~t~              GANDARA & GONZALEZ PLLC
     WITNESS: FELfCIA PITRE, Clerl< of the District Courts of Dallas, County Texas.                      ~~.~~          ~ , `~,~~,
                                                                                                                                      400 S ZANG BLVD
      Given under my hand and the Seal of said Court at office on this the 26th day of January, 201~~~`",~~3~ _ .'~~~.' _` ~~~~
                                                                                                                                      SUITE 816
     ATTEST: FEL[CIA PITRE                                                                         ~"` ° m"R                   ~~ '- DALLAS TX 75208
     Clerk of the District Co~u~ts of Dallas, County, Texas                                       ~ ~ ~~~ - ~                   ~ ~~ 972 755-9897
                                                                                                                              ...
                                                 /s/ Kerry Kallie
                               By                                         ,Deputy                                             ;~,.
                                                                                                   ~ ~~~oy ~ ~
                                                   KERRY K A L LIE                                  '~,~~~~'°''~~~ ~..• ~"~"~,~~'~"`
                                                                                                                                               E~:         ~
                                                                                                                    ~ ,...s~~
                                                                                                                                                                      Page 29 of 52 PageID 29




                                                                                                                                             ~~'    ~~~   's'~v




Exhibit C-6
                                                                                     OFFICER'S RETURN
                                                                                      FOR INDIVIDUALS
Cause No. DC-17-00812

Court No: 14th District Court

Stvle: JILL WILSON
 vs.
BEST WAY EXPRESS, INC., et al

          Received this Citation the              day of                   , 20      at               o'clock. Executed at                      ,within the County of
                                                    State of                , on the               day of                     , 20      , at        o'clock, by
delivering to the within named                                                            each in person, a copy of this Citation together with the accompanying copy of Plaintiffs original
petition, having first indorsed on same the date of delivery.
               v                                                                     ----------000000----------

                                                                                     OFFICER'S RETURN
                                                                                    FOR CORPORATIONS
Received this Citation the              day of                    , 20      at              o'clock .M. Executed a1;                        ,within the County of
                                                    State of                        , on the          day of                        ,20       , at           o'clock       .M. by summoning
the ~~ ithin named Corporation,                             by delivering to
                        _   President -Vice President - Retristered Aeent - in person, of the said

          a true copy of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                    ----------000000----------
                                                                                                                                                                                               Case 3:17-cv-00638-B Document 1 Filed 03/03/17




The distance actually traveled by me in serving such process was                 miles and my fees are as follows:        To certify which witness by my hand.
For Servin~~ Citation      $                                  Sheriff
For Milea~~e               $                                  County of
For Notary                 ~                                  State of
         Total Fees        $                                  By

(Must be ~-erified if served outside the State of Texas)
State of
Count}~ of
         Siened and s-porn to me by the said                                      before me this
d ay of                                      , ZO        to certify ~-vhich witness my hand and seal of office.


                                                        Seal                                                                                State &County of
                                                                                                                                                                                               Page 30 of 52 PageID 30
     FORM NO. 353-4—CITATION                                                                                                                              ESERVE(SOS)
     THE-ST~T~~T~~~l~

      To:      BEST WAY EXPRESS,INC.                                                                                                                               CITATION
               BY SERVING THE SECRETARY OF STATE
                OFFICE OF THE SECRETARY OF STATE
               CITATIONS UNIT - P.O. BOX 12079                                                                                                                  No.: DG17-00812
               A USTIN, TX, 78711
                                                                                                                                                            JILL WILSON
                                                                                                                                                                 VS.
     GREETINGS:                                                                                                                                      BEST WAY EXPRESS, IIVC., ET AL
     You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
     clerk who issued this citation by ]0 o'clock a.m. of the Monday next following the expiration of twenty days after you
     were served this citation and petition, a default judgment may be taken against you.                                                                      ISSUED
      Your answer should be addressed to the clerk of the 14th District Court                                                                     ON THIS THE 26TH DAY OF JANUARY,
     at 600 Commerce Street, Dallas, Texas 75202.                                                                                                                2017

        Said PLAINTIFF being JILL WILSON
                                                                                                                                                 FELICIA PtTRE
     Filed in said Cow~t 20th day of January, 2017 against                                                                                       Clerk District Courts.
                                                                                                                                                 Dallas County, Texas
        BEST WAY EXPRESS,INC. AND ROBERT LEE GRAY
                                                                                                                                                  By KERRY KALLIE, Deputy
       For suit, said suit being n~nnbered DG17-00812 the nattn~e of which demand is as follows:
                                                                                                                                                                                      Case 3:17-cv-00638-B Document 1 Filed 03/03/17




       Suit On MOTOR VEHICLE ACCIDENT etc.
     as shown on said petition REQUEST FOR DISCLOSURE, a copy of which accompanies this citation. If this citation                               Attorney for :Plaintiff
     is not served, it shall be returned unexecuted.                                                                                              CASSANDRA M. GANDARA
                                                                                                                                                  CASSANDRA@OAKCLIFFLAWYERS.COM
     W ITNESS: FELICIA PITRE, Clerl< of the District Courts of Dallas, County Texas.                             ~~~ ~. ~i~~~~~                   GANDARA & GONZALEZ PLLC
      Given under any hand ai d fhe Seal of said Cotu~t at office on this the 26th day of January, 2017~~~"~~'~ ~ ,~+ ~ ~ ~ r~'.~~~~              400 S ZANG BLVD
     ATTEST: FELICIA P1TRE                                                                             ~~~'`'`^~        , °~. ~'~'~~°~            SUITE 816
                                                                                                                                                  DALLAS TX 75208
     Clerk of the District Courts of Dallas, County, Texas                                            ~ .,°~          ~ p' , # `:.p               972 755-9897
                                                  /s/ Kerry Kallie                                       `~°` ~.            ~ w~
                               By                                            ,Deputy                 =~.
                                                 KERRY KALLIE                                         ~ '~                     a.
                                                                                                                                 ~~    .;""
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                                                                                                                                      k.
                                                                                                                                                                                      Page 31 of 52 PageID 31




                                                                                                                            ~ ~Q~~~




Exhibit C-7
                                                                                     OFFICER'S RETURN
                                                                                      FOR INDIVIDUALS
Cause No. DC-17-00812

Court iVo: 14th District Court

Style: J1LL WILSON
 vs.
BEST WAY EXPRESS, INC., et al

         Received this Citation the              day of                   , 20      at               o'clock. Executed at                      ,within the County of
                                                   State of                , on the               day of                     , 20      , at        o'clock, by
delivering to the within named                                                           each in person, a copy of this Citation together with the accompanying copy of Plaintiffs original
petition, having first indorsed on same the date of delivery.
                                                                                     ----------000000----------

                                                                                     OFFICER'S RETURN
                                                                                    FOR CORPORATIONS
Received this Citation the              day of                   , 20       at              o'clock _.M. Executed at                       ,within the County of
                                                 . State of                         , on the           day of                      , 20      , at           o'clocl:      .M. by summoning
the ~-vithin named Corporation,                            by delivering to
                            President -Vice President -Registered Aaent - in person, of the said

         a true copy of this citation together with the accoir~panying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                     ----------000000----------
                                                                                                                                                                                              Case 3:17-cv-00638-B Document 1 Filed 03/03/17




The distance actually traveled by mein serving such process was                  miles and my fees are as follows:       To certify which witness by my hand.
For Serving Citation       $                                 Sheriff
For Milea~~e               $                                 County of
For Notar~~                $                                 State of
         Total Fees        $                                 By

(Must he verified if served outside the State of Texas)
State of
County of
         Si«ned and s~-porn to me by the said                                   before me this
day of                                      , 20       , to certify which witness my hand and seal of office.


                                                       Seal                                                                                State &County of
                                                                                                                                                                                              Page 32 of 52 PageID 32
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17                                        Page 33 of 52 PageID 33
                                                                                                       ~d~,
                                                      r~ i   i VKlVC T.7( fiUVUH VHJ

                                                                         ~
                                                                         ~
                                      G~NDARA & GONZALEZ,PLLC ~ ~O~~°;~: ~~~
  400 S. Zang {~Ivd., Suite H 16
                                                                                                 ~~e          :1 79S~ft97~
  Daffac, Texas 752(lR                                                                            ~           ~ 619- X13
                                                                                                               r~
                                                       Jatluat~~ 30, 2017                                     r~-    ~~
 Attn: Civic Department
  Datlas District C(erk's Office
 fi00 Commerce St.
 Dallas, Texas 75202

                      Re:          Cause No. DL-17-OQ812,Jill t~T'ilson >>s. Be,st G~~ay Express• Irzc cY~ Robe~•t
                                   Lee Gjuy,currently pending in the 14"'Judicial District Court, Dallas
                                   County, Texas.


 Dear Clerk:
           Enclosed for filing please find Plaintiff's payment and request for service via certified
 mail t~ Tyro~~ D. Lewis, Chairman of Teas Transportation Camnussion, as agent for service for
 Defendant Robert Lee Clray. Enclosed please also find payment for copies ofthe service
 documents requested below.

           Please serve the foregoing a~ld enclosed documents via certified mail to Tyron D. Lewis,
 Chairman of Texas Transportation ~'ommission, as agent for service for Defendant Robert Lee
 Gray:
           1_        Cover letter to the Chairman of"Cexas 'rransportatian Commission,
          2.         Two copies of the enclosed citation previously requested and issued to Tyran D.
                     Lewis, Chairman of"I`exas Transportation Commission, a~ agent far service for
                     Defendant Robert Lee Gray, and
          3.         TGvo Copies Plaintiff's Original Petition and Request for Disclosures, enclosed
                     herein.

          Thank you f<>r yaur assistatice in this matter. It~you have any questions please d~ not
hesitate to contact: me directly at 972-755-9897 or at .1e~sica a 0akC1 i ttI ,alp vers,cc~f~t.


                                                               Sincerely,


                                                         Jessica A. Gonzalez
                                                              Attorney at La~v


:jag
 Enclosures


                                                                                                        Exhibit C-8
  Case 3:17-cv-00638-B Document 1 Filed 03/03/17                                 Page 34 of 52 PageID 34


                                                  TCQRNLYS    BOGADAS

                                        GANDARA & GONLAI.:EZ,PLLC
 ~l00 S. L" ang F314~d., Suite 8 ~ fi                                                               ~I elephonc(9721755~)R97
 Dallas. 'l c~as 75208                                                                                ~~acsimi(e(972 ~ C,19-K813

                                                  January 3U, 2~ 17

 Tryon U. Lewis, Chairman
 Texas "T'ransportation Carrimission
  25 E_ I i °i Street
 A ustin, Texas 78701-2483                                                                                                ~'

                                                                                                            z  ~~~
                                                                                                             inc •.:.
                                                                                                            f ..c'... .    4r~
                         Re:
                     Cause No. DC-17-OU812;.Till Filson ~~s•. Bes1 Gray Er~res.s ie~~~l~c~r•~
                     Lee Gt•ay, c~Erre~~tly finding in the 14"' Judicial District Cau ,I~I~~- ~
                                                                                               ~.t
                     County, Texas.                                                       ~~,~''%~, ~:
                                                                                        ~ ~~         N
 Dear Chairman:                                                                          ~,p̀~       ~
                                                                                         . 4
        Enclosed Tease find I~laintiff's Original Petition and Citation issued for service of
 process for- Robert Lee Gray. Mr. Gray is nonresident of Texas and currently a Defendant in the
 above-referenced suit that arose from a collision in which he was operating a motor vehicle in
 this state.

            Specifically, Mr. Rol}ert Lee Gray was involved in a motor vehicle collision ott January
 21, 2015, with IVIs. Jill Wilson. The_collision_occ~rred at 17300 block of Interstate_ Highway 30 in.
 Dallas County Texas,

            Mr,_ Etobert Lee Gray m~ be.served with. process at 190 Greenwood Dr., Apt. B,_Cacliz,
 Ke~ltucky, 422 l t

           If you have any questions please do nc~t hesitate to contact me directly at 972-755-9847
or at jes~i:<~(~Q~tI:C[iFfl..~~~~~~~e~ s.cc~»i.


                                                      Sincerely,




                                                     Jessica A. Gonzalez
                                                     Attorney at Law
                                                    .l~s~ic~~~ ~i,'O~ikC'I.if'fl,a~~t e ~~s.eo~ti



:fag
 Enclosures
                ~~~              '~.



                                                                                            OrFICER'S RETURN
                                                                                             FOR INDIVIDUALS
         Cause No. DG17-00812                                                                                                                              ?     ~~~ ~D
                                                                                                                                                            0/~FEB _9 qM
         Court No: 14th District Court                                                                                                                                          ~0.

         Style: JILL WILSON
          vs.                                                                                                                                                              £RK
                                                                                                                                                                        ., ~Xas
         BEST WAY EXPRESS,INC., et al
                                                                                                                                                                                TY
                   Received this Citation the    _        day of                   ,20      at            o'clock. Executed at                      ,within the County
                                                            State of                ,on the             day of                    ,20       , at
         delivering to the within named                                                                                                                 o'clock, by
                                                                                              each in person, a copy of this Citation together with the accompanying copy of
         petition, having first indorsed on same the date of delivery.                                                                                                       Plaintiffs original
                                                                                            ----------000000----------

                                                                                             OFFICER'S RETURN
                                                                                            FOR CORPO TIONS                      gas~ 11 ~t~h ST
         Received this Citation the 3u            day of ~a.r~            ,20 f ~ at      7         o'clock ~.M. Executed atq~y~}-~ n TI?"} K"tcl, within the County of
                                                             State of     -~'               ,on the               day of i~ lJ           ,20~,at ~'. v~-7 o'clock ~' .M. by summoning
         the within named Corporation,                                by delivering to      c~z         1..~2~_bT 5.er~;n `N`4 C~~{~r~                               `i-C.,. T—~eXa.~
                                                  Vice President -Registered Agent - in person,gf the said             n      ~ ~                            ~
                           C~crn i S f ovt           S     'f~.         .,\ C'         ~                          ~-~                 L Yl ~
                  a true copy of this citation to ether with the accompanying copy ofPlainti s original petition, havi
                                                                                                                          first in sed on same t date of
                                                                                             ----------000000----------

         The distance actually traveled b e in serving such process was                miles and my fees are as follows:      To certify which witness by my hand.
                                                                                                                                                                                                   Case 3:17-cv-00638-B Document 1 Filed 03/03/17




         For Serving Citation       $ ~~~                            Sheriff
         For Mileage                $                                County of
         For Notary                 $                                Stateo
                   Total Fees       $                                    BY                                                 l~~A PITRE
                                                                                                                       ~RICT CLERK
      (Must be verified if served outside the State ofTexas)                       C~.f~~~~~i~" I~~~~'~~~
        state of                                                                                                     600 C:QMME~CE STREET'
        County of                                                                                                    DALLAS,TEXAS Z52~Z•4806
                Signed and sworn to me by the said                                       before me this
        day of                                  ,20             , to certify which witness my hand and seal of office.


                                                                Seal                                                                            State & County of
                                                                                                                                                                                                   Page 35 of 52 PageID 35




Exhibit C-9
                       -...

FORM NO. 353-4—CITATION
                                                                                                                                       cep-k-►~e~.~ I
                                                                                                                                 „~~corn
~~~~ s~~~~ erg-~~~s
To:      ROBERT LEE GRAY                                                                                                                      CITATION
         BY SERVING THE CHAIRMAN OF THE TEXAS TRANSPORTATION COMMISSION
         125E 11TH STREET
         AUSTIN TX 78701-2483                                                                                                             No.: DC-17-00812

                                                                                                                                    JILL WILSON
GREETINGS:
                                                                                                                                         VS.
You have been sued. You may employ an attorney. If you or your attorney do nat file a written answer• with the
                                                                                                                             BEST WAY EXPRESS, INC., ET AL
clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you
were served this citation and petition, a default judgment may be taken against you.
 Your answer should be addressed to the clerk of tha 14th Distrect Court
at 600 Commerce Street, Dallas, Texas 75202.                                                                                           ISS[JED
                                                                                                                          ON THIS THE 30TH DAY OF JANUARY,
 Said PLAINTIFF being JILL WILSON                                                                                                        2017

Filed in said Court 20th day of January, 2017 against
                                                                                                                         FELICIA PITRE
 BEST WAY EXPRESS,INC. AND ROBERT LEE GRAY
                                                                                                                         Clerk District Courts,
                                                                                                                         Dallas County, Texas
 For suit, said suit being numbered DC-17-00812 the nature of which demand is as follows:
 Suit ~n MOTOR VEHICLE ACCIDENT etc.
                                                                                                                          By CARMEN MOORER, Deputy
as shown on said petition REQUEST FOR DICLSOLTItE ,a copy of which accompanies this citation. If this citation
is not served, it shall be returned unexecuted.
                                                                                                                                                             Case 3:17-cv-00638-B Document 1 Filed 03/03/17




                                                                                                                         Attorney for :Plaintiff
WITNESS: FELICIA PITRE, Clerk ofthe District Courts of Dallas, County Texas.
                                                                                                                          CASSANDRA. M. GANDARA
 Given under my hand and the Seal ofsaid Court at office on this the 30th day of January,2017
                                                                                                                          GANDARA & GQNZALEZ PLLC
ATTEST: FELICIA PITRE
                                                                                                                          400 S ZANG BLVD
Clerk ofthe District Courts of Dallas,
                                                                                                                          SUITE 816
                                                                                                                          DALLAS TX 75208
                         BY                                          ,Deputy                                              972-755-9897
                                                 EN    OORER                        r of r`~~ ~ ~',
                                                                                                     `~,
                                                                                        ~''C~' ~~~`' yi'?
                                                                                                                                                             Page 36 of 52 PageID 36




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   Case 3:17-cv-00638-B Document 1 Filed 03/03/17                         Page 37 of 52 PageID 37
       UNITED ST/1TES
~     PUST/SL SERVICE.




Date: February 7, 2417

',u
  :     •

The following is in response to your February 7, 2017 request for delivery information on
your Certified MaiIT"'/RRE item number 92148901066154000102097119. The delivery
record shows that this item was delivered on February 7, 2017 at 8:27 am in AUSTIN,
TX 78744. The scanned image of the recipient information is provided below.
                                                                                 '.. ...f^




Signature of Recipient :   ~~
                                   ~                          ~•~
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Address of Recipient :     -------- - ---   -
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                                          . ~    ~
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                                                                        .?.~b...._._.
Thank you for selecting the Postal Service for your mailing needs.

If you require additional assistance, please contact your local Post Office or postal
representative.

Sincerely,
United States Postal Service




The customer reference informs#ion shown below is not validated or endorsed by the
United States Postal Service. It is solely for customer use.


                                 Reference iD: 92148901066154000102097119
                                 DC1l7-00812 DPRO/CM
                                 ROBERT LEE GRAY
                                 BY SERVING THE CHAIRMAN OF THE TEXAS TRANSPORTATION
                                 COMMISSION
                                 125E 11th St
                                 Austin, TX 78701-2449
       FELICIA PITRE
                                   Case 3:17-cv-00638-B Document 1 Filed 03/03/17                                                                                                                 Page 38 of 52 PageID 38
       DISTRICT CLERK
       GEORGE L ALLEN SR COURT BLDG
                            503                                                                                                                                                                                                                                                                          .~
       DALLAS,TX R5202-4663
                                                                                                                                                                                                                                                                                                        M



                                                                                               9214 8901 0661 5400 0102 0971 19
       RETURN RECEIPT {ELECTRONIC)




       DC167-00812 DPRO/CM
       ROBERT LEE GRAY
       BY SERVING THE CHAIRMAN OF THE TEXAS
       TRANSPORTATION COMMISSION
       125E 11TH ST
       AUSTIN, TX 78701-2409




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 Case 3:17-cv-00638-B Document 1 Filed 03/03/17               Page 39 of 52 PageID 39                    FILED
                                                                                             DALLAS COUNTY
                                                                                          2/17/2017 3:11:14 PM
                                                                                                FELICIA PITRE
                                                                                             DISTRICT CLERK



                                  Cause No. DG1~-oo812

 Jill Wilson,                                                      In the District Court of
         Plaintiff,

 v.
                                                                     Dallas County, Texas
 Best Way Express, Inc. and
 Robert Lee Gray,
       Defendants.
                                                                     14th Judicial District


                      Defendant Robert Lee Gray's Original Answer and
                                  Request for Disclosures
To the Honorable Judge:
Defendant, Robert Lee Gray,files this, his Original Answer and Requestfor Disclosures,
and would respectfully show the Court as follows:

                                      General Denial

Pursuant to Texas Rule of Civil Procedure g2, Defendant asserts a general denial as to
Plaintiffs Original Petition and thus generally denies each and every allegation contained
in Plaintiff's Original Petition and demands strict proof thereof.

                                    Failure to Mitigate

As a further defense, if such should be necessary, Defendant asserts that if Plaintiff has
suffered any damages, which Defendant denies, Plaintiff has failed to mitigate such
damages.

                                 Plaintiff's Own Negligence

Defendant asserts that if Plaintiff suffered injuries and/or damages as a result of the
incident made the basis of this lawsuit, which Defendant expressly denies by the filing of
this pleading, that these injuries and/or damages were caused in whole or in part by
Plaintiff's own negligence or responsibility. Accordingly, Defendant asserts all rights,
privileges, and remedies afforded or available to him pursuant to Chapter 33 of the Texas
Civil Practices &Remedies Code.

Additionally, Defendant asserts that in the event Plaintiff's negligence is determined to be
51 percent or more, her recovery shall be barred in total pursuant to Section 33.00i of the
Texas Civil Practice &Remedies Code.




                                                                                Exhibit C-10
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17                Page 40 of 52 PageID 40




                    Limitations nn Recovery of Medical Expenses

Defendant asserts the limitation on the recovery of medical and health care expenses set
forth in Section 4i.oio5 of the Texas Civil Practices and Remedies Code. Plaintiffs
recovery is limited to those expenses actually paid or incurred.
                     Limitations on Recovery of Loss of Earnings

Defendant asserts the limitations on the recovery of damages for loss of earnings set forth
in Section i8.o9i of the Texas Civil Practice and Remedies Code.
                                Pre-existing Conditions

Defendant also asserts that the injuries or physical conditions complained of by Plaintiff
were due in whole or in part to pre-existing or subsequently occurring bodily conditions
of which Defendant is not responsible. Alternatively, in the event that it is necessary,
Defendant is entitled to a credit or offset for all damages attributable to such pre-existing
~pn~ition~,

                   Economic Damages to be Determined Separately
If such is necessary, Defendant requests that the trier of fact determine the amount of
Plaintiff's alleged economic damages separately from any amount sought for other
compensatory damages,including but not limited to physical pain and suffering, mental
or emotional pain or anguish, physical impairment, and all other non-pecuniary damages
she seeks.
                             Right to Credit for Settlements

Pleading further and without waiving the foregoing, Defendant invoices his legal right to
a reduction of any monetary verdict which may be rendered in this case by credit for
payments made to Plaintiff by other persons and/or entities, or by the percentage
reductions to which Defendant would be entitled as a result of the jury findings against
Plaintiff, co-defendants, responsible third parties, or any other persons or entities.
Defendant further reserves the right to submit issues against parties who inay be present
or absentfrom this case at the time the matter is passed to thejury for fact determinations.
                              Right to Amend this Answer

Pleading further and without waiving the foregoing, Defendant specifically reserves the
right to amend this Answer, as is his right under the Texas Rules of Civil Procedure.
                                 Request for Disclosure

Defendant requests Plaintiff to disclose the information and materials described in Texas
Rule of Civil Procedure 194.2 within 3o days of service of this request.



                                DEFENDANT'S ORIGINALANSV~rER
                                         Page z of 4
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17               Page 41 of 52 PageID 41




                                         Prayer

Defendant, Robert Lee Gray, respectfully prays that this Honorable Court:

      a.     Enter atake-nothing judgment in favor of Defendant, Robert Lee Gray;

      U.     Assess costs against Plaintiff; and

      d.     Award all other relief to which Defendant is entitled.
                                    Respectfully Submitted,

                                    Brown Sims
                                                  r
                                         ~   ~~        ~          .

                                    1V~~~hael D. Williams
                                    mwilliams@brownsims.com
                                    Texas Bar No. 21564330
                                    Andrew W. Gray
                                    awgray@brownsims.com
                                    Texas Bar No. 24099826
                                    11~~ West Loop South, Tenth Floor
                                    Houston, Texas ~~02~
                                    X13.629.1580
                                    ~13.629.502~ fax
                                    Attorneysfor Defendants,
                                    Robert Lee Gray and
                                    Best Way Express, Inc.




                               DEFENDAN'T'S ORIGINAL ANSWER
                                        Page 3 of 4
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17                 Page 42 of 52 PageID 42




                                 Certificate of Service

I certify that on February i~, 201 , I served a copy of the foregoing document on the
parties listed below pursuant to Texas Rule of Civil Procedure 21a:

 Cassandra M. Gandara
 Jessica A. Gonzalez
 GANDARA Sz GONZALEZ,PLLC
40o S. Zang Blvd., Suite 816
Dallas, Texas 75208
Tel: 972.755.9897
Fax: 972.619.8813

Attorneysfor Plaintiff
                                                ~,



                                       ,
                                       ,~k~Iichaei 17. Williams




                               D~P'L:NDANT'S ORIGINALAn'S1N~R
                                        Page 4 of 4
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17              Page 43 of 52 PageID 43                     FILED
                                                                                             DALLAS COUNTY
                                                                                          2/17/2017 3:11:14 PM
                                                                                                FELICIA PITRE
                                                                                             DISTRICT CLERK




                                 Cause No. DG1~-oo812

 Jill Wilson,                                                      In the District Court of
         Plaintiff,

 v.
                                                                     Dallas County, Texas
 Best Way Express, Inc. and
 Robert Lee Gray,
       Defendants.
                                                                     14th Judicial District


               Defendant Best Way Express, Inc.'s Original Answer and
                              Request for Disclosures

To the Honorable Judge:
l7efenciant, Best vVay Express, 1nc., files this, ids Ciriginal Answer and 1Zequest for
Disclosures, and would respectfully show the Court as follows:

                                     General Denial

Pursuant to Texas Rule of Civil Procedure 92, Defendant asserts a general denial as to
Plaintiffs Original Petition and thus generally denies each and every allegation contained
in Plaintiff's Original Petition and demands strict proof thereof.
                                   Failure to Mitigate

As a further defense, if such should be necessary, Defendant asserts that if Plaintiff has
suffered any damages, which Defendant denies, Plaintiff has failed to mitigate such
damages.

                               Plaintiffs Own Negligence

Defendant asserts that if Plaintiff suffered injuries and/or damages as a result of the
incident made the basis of this lawsuit, which Defendant expressly denies by the filing of
this pleading, that these injuries and/or damages were caused in whole or in part by
Plaintiff's o~vn negligence or responsibility. Accordingly, Defendant asserts all rights,
privileges, and remedies afforded or available to it pursuant to Chapter 33 of the Texas
Civil Practices &Remedies Code.
Additionally, Defendant asserts that in the event Plaintiff's negligence is determined to be
5i percent or more, her recovery shall be barred in total pursuant to Section 33.00i of the
Texas Civil Practice &Remedies Code.




                                                                                Exhibit C-11
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17               Page 44 of 52 PageID 44




                     Limitations on Recovery of Medical Expenses

Defendant asserts the limitation on the recovery of medical and health care expenses set
forth in Section 4i.o1o5 of the Texas Civil Practices and Remedies Code. Plaintiff's
recovery is limited to those expenses actually paid or incurred.
                     Limitations on Recovery of Loss of Earnings

Defendant asserts the limitations on the recovery of damages for loss of earnings set forth
in Section 18.o9i of the Texas Civil Practice and Remedies Code.
                                 Pre-existing Conditions

Defendant also asserts that the injuries or physical conditions complained of by Plaintiff
were due in whole or in part to pre-existing or subsequently occurring bodily conditions
of which Defendant is not responsible. Alternatively, in the event that it is necessary,
Defendant is entitled to a credit or offset for all damages attributable to such pre-existing
~ond;tions.
                   Economic Damages to be Determined Separately

If such is necessary, Defendant requests that the trier of fact determine the amount of
Plaintiff's alleged economic damages separately from any amount sought for other
compensatory damages, including but not limited to physical pain and suffering, mental
or emotional pain or anguish, physical impairment, and all other non-pecuniary damages
she seeks.
                             Right to Credit for Settlements

Pleading further and without waiving the foregoing, Defendant involves its legal rights to
a reduction of any monetary verdict which may be rendered in this case by credit for
payments made to Plaintiff by other persons and/or entities, or by the percentage
reductions to which Defendant would be entitled as a result of the jury findings against
Plaintiff, co-defendants, responsible third parties, or any other persons or entities.
Defendant further reserves the right to submit issues against parties who maybe present
or absentfrom this case at the time the matter is passed to thejury for fact determinations.
                              Right to Amend this Answer

Pleading further and without waiving the foregoing, Defendant specifically reserves the
right to amend this Answer, as is its right under the Texas Rules of Civil Procedure.
                                 Request for Disclosure

Defendant requests Plaintiff to disclose the information and materials described in Texas
Rule of Civil Procedure 194.2 within 3o days of service of this request.



                                DEFENDANT'S OKIGINALANSVJER
                                         Page 2 of 4
Case 3:17-cv-00638-B Document 1 Filed 03/03/17                Page 45 of 52 PageID 45




                                         Prayer

Defendant, Best Way Express, Inc., respectfully prays that this Honorable Court:
             Enter atake-nothing judgment in favor of Defendant, Best Way Express,
             Inc.;

      b.     Assess costs against Plaintiff; and

      d.     Award all other relief to which Defendant is entitled.
                                    Respectfully Submitted,

                                    Bro n Sims

                                                      ~.

                                    A-Tichael D. Williams
                                    mwilliams@brownsims.com
                                    Texas Bar No. 21564330
                                    Andrew W. Gray
                                    awgray@brownsims.com
                                    Texas Bar No. 24099826
                                    il~~ West Loop South, Tenth Floor
                                    Houston, Texas ~~02~
                                    ~i3.629.i58o
                                    ~13.629.502~ fax
                                    Attorneysfor Defendants,
                                    Robert Lee Gray and
                                    Best Way Express,Inc.




                               DEF~NllAN1'S ORIGINAL ANSWER
                                        Page 3 of 4
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17              Page 46 of 52 PageID 46




                               Certificate of Service
I certify that on February i~, 201 , I served a copy of the foregoing document on the
parties listed below pursuant to Texas Rule of Civil Procedure 21a:

Cassandra M. Gandara
Jessica A. Gonzalez
GANDARA & GONZALEZ,PLLC
40o S. Zang Blvd., Suite 816
Dallas, Texas 75208
Tel: 972.755.9897
Fax: 972.6i9.88i3

Attorneysfor Plaintiff



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                                         ~_    TJ, Wil~i~rnc




                             DEFENDANT'S OKIGINALAI~~SVdER
                                      Page 4 of 4
 Case 3:17-cv-00638-B Document 1 Filed 03/03/17       Page 47 of 52 PageID 47
                                     /'




                                    I` ~~~„=,-~~ ~J
                                           ___.
                         l4T'~ JUDICIAL DISTRICT COURT
                       GEORGE L. ALLEN COURTS BUILDING
                              600 COMMERCE STREET
                           DALLAS, TEXAS 75202-4604
                                                               2/23/2017

File Copy




DC-17-00812
JILL WILSON vs. BEST WAY EXPRESS,INC., et al


ALL COUNSEL OF RECORD/PRO SE LITIGANTS:

PLEASE TAKE NOTE OF THE FOLLOWING SETTING:

      NON -JURY TRIAL: January 16, 2018 at 9:30 AM

TRIAL ANNOUNCEMENTS MUST BE MADE IN ACCORDANCE WITH RULE 3.02, LOCAL
RULES OF THE CIVIL COURTS OF DALLAS COUNTY,TEXAS.

WHEN NO ANNOUNCEMENT IS MADE FOR DEFENDANT,DEFENDANT WILL BE PRESUMED
READY.IF PLAINTIFF FAILS TO ANNOUNCE OR TO APPEAR AT TRIAL,THE CASE WILL BE
DISMISSED FOR WANT OF PROSECUTION IN ACCORDANCE WITH RULE 165a, TEXAS
RULES OF CIVIL PROCEDURE.




                                      Sincerely,




                                      ERIC V. MOYE,DISTRICT JUDGE
                                      14TH DISTR]CT COURT
                                      Dallas Colu~ty, Texas
Cc:
CASSANDRA M GANDAR~
400 S ZANG BLVD SUITE 816
DALLAS TX 75208
MICHAEL D WILLIAMS
1 177 WEST LOOP SOUTH
l OTI-I FLOOR
HOUSTON TX 77027




                                                                     Exhibit C-12
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                          In the United States District Court
                              Northern District of Texas
                                   Dallas Division

Jill Wilson,

         Plaintiff,                             Civil Action No. 3:17-cv-638
v.

Best Way Express, Inc. and
Robert Lee Gray

         Defendants


                          List of All Counsel of Record

Counsel for Plaintiff Jill Wilson

GANDARA & GONZALEZ, PLLC
Cassandra M. Gandara
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Counsel for Best Way Express, Inc. and Robert Lee Gray

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1177 West Loop South, 10th Floor
Houston, Texas 77027
Tel: (713) 629-1580
Fax: (713) 629-5027




                                                                               Exhibit D
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                           In the United States District Court
                               Northern District of Texas
                                    Dallas Division

 Jill Wilson,

          Plaintiff,                               Civil Action No. 3:17-cv-638
 v.

 Best Way Express, Inc. and
 Robert Lee Gray

          Defendants


                         Name and Address of State Court

Honorable Judge Eric V. Moyé
District Court of Dallas County, Texas
14th Judicial District
George L. Allen, Sr. Courts Building
600 Commerce Street
5th Floor New Tower
Dallas, Texas 75202
214.653.6000




                                                                                  Exhibit E
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                        In the United States District Court
                            Northern District of Texas
                                 Dallas Division

 Jill Wilson,

          Plaintiff,                              Civil Action No. 3:17-cv-638
 v.

 Best Way Express, Inc. and
 Robert Lee Gray

          Defendants



           Defendants Best Way Express, Inc.’s and Robert Lee Gray’s
                       Certificate of Interested Persons

To the Honorable United States District Judge:

Comes Now, Defendants, Best Way Express, Inc. and Robert Lee Gray and file this,
their Certificate of Interested Persons pursuant to Local Rule 81.1(A)(4)(d) for the
Northern District of Texas, and hereby provides the following information:

Defendant Best Way Express, Inc. is a nongovernmental corporate party. The
names of its parent corporation and any publicly held corporation that owns 10%
or more of its stock is: Vectra Integration, Inc.

Defendant Robert Lee Gray is an individual residing in Cadiz, Kentucky.

The following is a complete list of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal
entities that are financially interested in the outcome of this case:

      1. Plaintiff Jill Wilson
            a. Counsel: Gandara & Gonzalez, PLLC., Cassandra M. Gandara, 400 S.
               Zang Blvd., Suite 816, Dallas, Texas 75208. Telephone (972) 755-
               9897; Facsimile (972) 619-8813

      2. Defendant Robert Lee Gray
           a. The address for Defendant Gray is: 190 Greenwood Dr., Apt. B,
              Cadiz, Kentucky 42211.




                                                                              Exhibit F
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         b. Counsel: Brown Sims, P.C., Michael D. Williams and Andrew W.
            Gray, 1177 West Loop South, Tenth Floor, Houston, Texas 77027;
            Telephone: (713) 629-1580; Facsimile: (713) 629-5027.

   3. Defendant Best Way Express, Inc.
        a. Address: 2242 S. Old Decker Road, Vincennes, Indiana 47591.
        b. Telephone: (812) 882-6448
        c. Counsel: Brown Sims, P.C., Michael D. Williams and Andrew W.
           Gray, 1177 West Loop South, Tenth Floor, Houston, Texas 77027;
           Telephone: (713) 629-1580; Facsimile: (713) 629-5027.
        d. Insurance Carrier: Westfield Insurance Company, P.O. Box 5005,
           Westfield Center, Ohio 44251-5005.

                                          Respectfully submitted,
                                          Brown Sims, P.C.


                                          _/s/ Michael D. Williams
                                          Michael D. Williams
                                          Attorney-in-Charge
                                          Texas Bar No. 21564330
                                          mwilliams@brownsims.com
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                                          Houston, Texas 77027-9007
                                          (713) 629-1580 (Telephone)
                                          (713) 629-5027 (Facsimile)
                                          Counsel for Defendants, Best Way
                                          Express, Inc. and Robert Lee Gray




Of Counsel:
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              EXHIBIT F - DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS
                                      Page 2 of 3

                                                                              Exhibit F
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                               Certificate of Service

I hereby certify that on March 3rd, 2017, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF filing system. Notice of this filing will be
sent to counsel for all parties by operation of the Court’s electronic filing system.



                                           __/s/ Michael D. Williams____
                                           Michael D. Williams




               EXHIBIT F - DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS
                                       Page 3 of 3

                                                                               Exhibit F
